                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

                                                   No. 3:08-CR-93-BR

UNITED STATES OF AMERICA,                          )
                                                   )
              v.                                   )              ORDER
                                                   )
BRYAN S. KOS                                       )

       This matter is before the court on the government’s motion to dismiss. Because defendant

has pled guilty to related charges in Case No. 3:09-CR-33, the motion is ALLOWED and the counts

of the indictment in this matter as they relate to defendant are DISMISSED.

       This 20 October 2009.




                                            __________________________________
                                                  W. Earl Britt
                                                  Senior U.S. District Judge




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